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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA
    Plaintiff,
                                                     Case No. 20CR613
v.
Heriberto Carbajal-Flores,
      Defendant.


       DEFENDANT’S REPLY TO HIS RENEWED SECOND MOTION
           TO DISMISS INDICTMENT UNDER THE SECOND
             AMENDMENT OF THE U.S. CONSTITUTION

      Regardless      of   how   Defendant     Carbajal-Flores    (hereinafter,   “Mr.

Carbajal-Flores”) has styled his motion, this Court should not divert attention to the

Government’s confusion between a motion for reconsideration versus a renewed

motion. As noted in the Government’s Response Brief, a court may re-hear an issue

when “(1) the court has patently misunderstood a party; (2) the court has made a

decision outside the adversarial issues presented to the court by the parties; (3) the

court has made an error not of reasoning but of apprehension; (4) there has been a

controlling or significant change in the law since the submission of the issue to the

court; or (5) there has been a controlling or significant change in the facts since the

submission of the issue to the court.” River Vill. W. LLC v. Peoples Gas Light & Coke

Co., 618 F. Supp. 2d 847, 850 (N.D. Ill. 2008) (emphasis added) (citing Bank of

Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185, 1191 (7th Cir. 1990)); see

also Government’s Response to Defendant’s Renewed Second Motion to Dismiss

Indictment, p. 5.
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      In this case, there have in fact been significant changes in the law since Mr.

Carbajal-Flores’s initial Second Motion to Dismiss Indictment Under the Second

Amendment of the U.S. Constitution (hereinafter, “Initial Motion to Dismiss”) was

decided by this Court on December 19, 2022. Specifically, since the filing of Mr.

Carbajal-Flores’s Initial Motion to Dismiss where he argued that 18 § 922(g)(5) was

unconstitutional following the Supreme Court’s holding in New York State Rifle &

Pistol Associations, Inc., et al. v. Bruen, Superintendent of New York State Police, et

al., 142 S. Ct. 2111 (2022), there have been additional cases decided that add to the

post-Bruen analysis of “the people” by offering guidance on how to properly

determine which individuals should ultimately be restricted under the various

subsections of § 922. See Range v. Attorney General United States, 2023 U.S. App.

LEXIS 13972 * (3d Cir. 2023) (holding 18 U.S.C. § 922(g)(1) as unconstitutional in

an as-applied challenge because the government failed to show “that our Nation’s

history and tradition of firearm regulation support disarming Range”); Patrick

Atkinson v. Merrick B. Garland, 70 F.4th 1018 (7th Cir. 2023) (emphasizing the

newly added complexity of the history and tradition analysis under the Second

Amendment following the Supreme Court holding in Bruen); see also Bruen, 142 S.

Ct. at 2111, 2157 (Alito, J., concurring) (“Our holding decides nothing about who

may lawfully possess a firearm . . ..”). Coincidentally, in a facial challenge to §

922(g)(1), a recent holding in this district specifically has opted to follow the

Atkinson analysis while attempting to define “the people” in United States v. Prince,

further reiterating the importance of this Court’s consideration of both Range and
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Atkinson in its analysis. 1:22-cr-00240 (N.D. Ill. Nov. 2, 2023) (following the

reasoning of Atkinson). As we can see with this district’s holding in Prince, utilizing

such cases will ultimately aid in creating a much-needed stable and proper test to

further define “the people” under the Second Amendment in general, inclusive of

immigrants that also meet the standards to bear arms. See District of Columbia v.

Heller, 554 U.S. 570, 580 (2008) (explaining “the people” as used throughout the

Constitution “unambiguously refers to all members of the political community, not

an unspecified subset”); Bruen, 142 S. Ct. 2111, 2156 (2022) (determining that the

subject New York statute “violates the Fourteenth Amendment in that it prevents

law-abiding citizens with ordinary self-defense needs from exercising their right to

keep and bear arms”).

      The analysis in both Range and Atkinson make it clear that certain groups of

individuals cannot collectively be viewed as all similarly situated post-Bruen.

Instead, courts should consider a deeper analysis of the historical traditions and

their application to certain exception groups that do not arise to the level of those

that should in fact be stripped of their right to bear arms. See Range, 2023 U.S.

App. LEXIS at 13972 * (holding that citizens are not “law abiding” if they are

“unwilling to obey the government and its laws, whether or not they had

demonstrated a propensity for violence”); Atkinson, 70 F.4th at 1018 (holding that,

although the individual at issue was considered a felon as defined by the law, the

courts found that he was, nevertheless, not the kind of felon the law was meant to

disarm). And, as other courts lean on the analysis given in Range and Atkinson, it is
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only a matter of time in which a court will ultimately (and properly) utilize that

same analysis for other restrictive statutes denying Second Amendment rights. See

Prince, 1:22-cr-00240, p. 7 (“Where lower courts have . . . engaged in insufficient

historical review, their analysis does not meet [ ] the standard set out in Bruen”).

      The Government attempts to argue that neither Range nor Atkinson deal

with the statute at issue in this matter, and are therefore irrelevant. While it is true

that those cases, as well as Prince, address § 922(g)(1), a distinctly different

subsection of § 922, they nevertheless address the issue of who qualifies as “the

people”–and as such, have a right to bear arms–under the Second Amendment. See

Range, 2023 U.S. App. LEXIS 13972*; Atkinson, 70 F.4th at 1018. Therefore, the

guidance we can garner from these cases (which is substantial, as detailed below) in

aiding on how to proceed with § 922(g)(5) is significantly important and serves as a

significant change in this ever-quickly evolving law as it applies to Second

Amendment restrictions generally, not just § 922(g)(1). See Prince, 1:22-cr-00240

(following Atkinson in garnering a detailed analysis of historical laws and

traditions, noting the failure of past courts to conduct such a proper analysis, pre- or

post-Bruen).

      The analysis of      § 922(g)(1) by both Range and Atkinson included the

consideration of certain factors that aided in the courts concluding that not all

felons are the same, and therefore, not all felons should be stripped of their right to

bear arms under the Second Amendment. See Range, 2023 U.S. App. LEXIS 13972*

(finding that the historical analysis requires a determination that the historical
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regulation being presented in support of the present-day regulation is “relevantly

similar”); Atkinson, 70 F.4th at 1024 (tasking itself with the analysis of determining

whether or not the government met its burden of “affirmatively prov[ing] that its

firearms regulation is part of the historical tradition that delimits the outer bounds

of the right to keep and bear arms” while noting the complexity of such an analysis);

see also Prince, 1:22-cr-00240 (utilizing the detailed analysis in Atkinson as

guidance to determine if the defendant qualified as part of “the people” under the

Second Amendment). Much like Range and Atkinson had to grapple with, and has

subsequently opened up, a pandora-type box of questions as it applies to felons (i.e.,

the difference between state and federal felonies, violent and non-violent felons, and

jail time served versus a probationary sentence only; the length of time between the

initial conviction and the charge under § 922; and the record of that particular

felon), the same can be said about similar questions that deserve analysis under §

922(g)(5) as it applies to undocumented immigrants. And similarly, the guidance we

get from Prince, offers further guidance in the significance and complexity of the

historical and traditional analysis required for both a facial and an as-applied

challenge to the restrictive subsections of § 922.

      While the court in Range began the post-Bruen analysis of determining who

was exactly made up “the people” collectively under the Second Amendment for

purposes of restrictive laws, the court in Atkinson placed further significance on the

creation of a non-exhaustive list of questions to consider when contemplating an

as-applied challenge, having instructed the government to develop a record that
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addresses a series of ‘interrelated and non-exhaustive questions’ which are intended

to ‘help focus the proper analysis on remand.’” Atkinson, 70 F.4th at 1023.

Specifically, the questions demanded by the Atkinson court included:


         1. Does § 922(g)(1) address a ‘general societal problem that has
            persisted since the 18th century?’ … If this problem existed
            during a relevant historical period, did earlier generations
            address it with similar or ‘materially different means?’;

         2. What does history tell us about disarming those convicted of
            crimes generally and felonies in particular? Among other
            sources, the parties could look to commentary from the
            Founders, proposals emerging from the states’ constitutional
            ratifying conventions, any actual practices of disarming felons or
            criminals more generally around the time of the Founding, and
            treatment of felons outside of the gun context (to the extent this
            treatment is probative of the Founders’ views of the Second
            Amendment). When considering historical regulations and
            practices, the key question is whether those regulations and
            practices are comparable in substance to the restriction imposed
            by § 922(g)(1). To answer the question, the district court and the
            parties should consider how the breadth, severity, and the
            underlying rationale of the historical examples stack up against
            § 922(g)(1);

         3. Are there broader historical analogues to § 922(g)(1) during the
            periods that Bruen emphasized, including, but not limited to,
            laws disarming ‘dangerous’ groups other than felons? The
            parties should not stop at compiling lists of historical firearms
            regulations and practices. The proper inquiry, as we have
            explained, should focus on how the substance of the historical
            examples compares to § 922(g)(1);

         4. If the district court’s historical inquiry identifies analogous laws,
            do those laws supply enough of a historical tradition (as opposed
            to isolated instances of regulation) to support § 922(g)(1)? On
            this front, the parties should provide details about the
            enforcement, impact, or judicial scrutiny of these laws, to the
            extent possible;
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          5. If history supports Atkinson’s call for individualized
             assessments or for a distinction between violent and non-violent
             felonies, how do we define a non-violent or a non-dangerous
             felony? And what evidence can a court consider in assessing
             whether a particular felony conviction was violent? For instance,
             can a court consider the felony conviction itself, the facts of the
             underlying crime, or sentencing enhancements? Bruen shows
             that these distinctions should also have firm historical support.
             See 142 S. Ct. at 2132-33 (explaining that the court must assess
             whether modern and historical regulations are ‘relevantly
             similar,’ including in terms of how and why the regulations
             burden gun rights).”

Id. at 1023-24. Then, most recently, the court in Prince further demanded an

exhaustive analysis of not merely the justifications of such modern restrictive laws

in comparison to those past laws that are being compared, but also the burdens that

were and are currently being imposed by such laws. See Prince, 1:22-cr-00240, p. 16.

      Clearly, this analysis is generally broad and can be interpreted with ease

(nothing more than the switching out of a few words and the particular statute at

hand as it applies to all analyses broadly). To wit, it is a transferable analysis and §

922(g)(5) deserves the same, or similarly detailed analysis as § 922(g)(1) when

considering undocumented immigrants as part of “the people” with rights under the

Second Amendment. And while this Court has already begun the proper analysis

under Bruen, it is only proper that the analysis be expanded even further to

correlate with the detailed analysis demanded by both Range and Atkinson (and

most recently, Prince). See Memorandum Opinion and Order from this Court

12/19/22, pp. 3-6 (considering the plain text as well as historical and traditional

analogies generally, yet not arising to the same level of intricate discussion as that

of Range, Atkinson, or Prince).
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      For instance, in this case, the question falls on the difference between an

individual that wilfully and voluntarily entered the United States unlawfully as an

adult (and has therefore refused to pledge allegiance to the United States) versus

someone who was brought here at a young age and involuntarily, at no fault of their

own (and, while having no opportunity to pledge such formal and legal allegiance,

has nevertheless become part of a whole sub-group of undocumented immigrants

that has pledged allegiance to the United States of America every day for years

while they attended public grammar school with their American-born classmates).

See Defendant’s Affidavit, Dkt. 71-1 (attesting to Mr. Carbajal-Flores’ daily pledge

of allegiance to the United States while in grammar school). Additionally, there is

the issue of legal permanent residents of the United States (aka- “Green Card

Holders”) and those here on a visa, who are as well non-citizens exempt from taking

an oath of allegiance, and without the right to vote, but are nevertheless given

rights under the Second Amendment. These distinct groups of individuals alone are

enough to show that not all immigrants (even those that are undocumented) are

equally yoked.

      And just like the courts in both Range and Atkinson asked the difficult

questions about the differences in felons, their circumstances, and other relevant

factors necessary when considering a challenge to § 922(g)(1), this Court is now

tasked with the very same analysis of “the people” but with regard to

undocumented immigrants being considered under § 922(g)(5). The identity of those

stripped of their right to bear arms may be different, but the analysis and the
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question of who is included as “the people” under the Second Amendment remains

the same (or very much similar). This Court must partake in the same in-depth

analysis as those of Range and Atkinson, relying on their reasoning to create a

similar analysis for § 922(g)(5). And similarly, this Court should follow Prince’s

guidance on how to consider the historical and traditional undertaking of the

analysis. In doing so, this Court will find that Mr. Carbajal-Flores, and other such

individuals like him, much like those in Range and Atkinson, are not the types of

individuals that should have their right to bear arms stripped away despite the

general language of the governing prohibitory statutes.

      As it applies to undocumented immigrants generally, and because Bruen did

nothing to address the meaning of “the people”, this Court has already properly

concluded that “‘[n]o language in the Amendment supports [ ] a conclusion’ that

noncitizens are excluded from ‘the people’ protected by the Bill of Rights.” See

Memorandum Opinion and Order from this Court 12/19/22, p. 3 (quoting United

States v. Meza-Rodriguez, 798 F.3d 664, 672 (7th Cir. 2015); see District of Columbia

v. Heller, 554 U.S. 570, 580 (2008) (explaining that “the people” as it is used

throughout the Constitution, “unambiguously refers to all members of the political

community, not an unspecified subset”); Bruen, 142 S. Ct. at 2157 (concurring in his

opinion, Justice Alito noted that the Court’s decision in Bruen “decides nothing

about who may lawfully possess a firearm or the requirements that must be met to

buy a gun”). But see United States v. Perez, 6 F.4th 448 (2d Cir. 2021), cert. denied,

142 S. Ct. 1133, 212 L. Ed. 2d 20 (2022), United States v. Torres, 911 F.3d 1253 (9th
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Cir. 2019), United States v. Huitron-Guizar, 678 F.3d 1164 (10th Cir. 2012), and

United States v. Jimenez-Shilon, 34 F.4th 1042 (11th Cir. 2022) (assuming, without

specifically deciding, that the Second Amendment does not apply to unauthorized

noncitizens). Nevertheless, this Court held that it would “not ‘place more weight on

these passing references than the Court itself did’” and ultimately determined,

without further analysis, that “unauthorized noncitizens possess no right to bear

arms.” See Memorandum Opinion and Order from this Court 12/19/22, p. 4

(quoting Bruen, 142 S. Ct. at 2134 (opting to skip such an analysis because, in the

case of Bruen, there was no such reasons for the analysis as it was “undisputed that

petitioners … are part of ‘the people’). Yet, unlike the individuals in Bruen, the

analysis here, as it applies to undocumented immigrants (i.e., “unauthorized

noncitizens”, as this Court refers to them), is not at all as straightforward as the

Bruen analysis as it is not so undisputed here that such individuals are, or are not,

part of “the people.” And, the addition of the detailed analysis in both Range,

Atkinson, and Prince is absolutely necessary to aid in picking up where the Bruen

court left off where such an analysis is needed.

      Accordingly, the Government’s argument that Mr. Carbajal-Flores is not part

of a political community, and thus undeserving of certain constitutional protections

and rights, is inaccurate for a number of reasons. See Government’s Response Brief,

pp. 12-17; see also United States v. Meza-Rodriquez, 798 F.3d 664, 669 (7th Cir.

2015) (“While some of Heller’s language does link Second Amendment rights with

the notion of ‘law-abiding citizens’ and ‘members of the political community,’ those
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passages did not reflect an attempt to define the term ‘people’”.) (internal citations

omitted). But see Prince, 1:22-cr-00240, p. 14 (“The legislature even disarmed free,

Christian, white colonists (i.e., the core of the political community) whom the

authorities believed they could not be trusted to obey the law, such as Loyalists.”)

(citing United States v. Jackson, 69 F.4th 495, 503 (8th Cir. 2023) (citing 4 Journals

of the Continental Congress 1774-1789, at 205 (Worthington Chauncey Ford ed.,

1906); Act of Mar. 14, 1776, ch. 21, 1775-76 Mass. Acts. 479; Act of May 1777, ch.

III, 9 The Statutes at Large: Being a Collection of all the Laws of Virginia 281-82

(1821); Act of June 13, 1777, ch. 756 §§ 2-4, 1777 Pa. Laws 110, 111-13; Act of June

1776, 7 Records of the Colony of Rhode Island and Providence Plantations in New

England 567 (1862); Act of Nov. 15, 1777, ch. 6, 1777 N.C. Sess. Laws 231; Act of

Sept. 20, 1777, ch. XL, 1777 N.J. Laws 90)).

      In fact, there are several aspects about Mr. Carbajal-Flores’ personhood and

status within the United States that place him squarely within the bounds of a

political community. To begin with, and in general, it is worth noting that

non-citizens are in fact members of the broad political community, despite not being

a part of the electorate. Despite not being allowed the right to vote, these such

individuals nevertheless possess other political rights that are equally important,

inclusive of Fourth Amendment privacy protections, as well as First Amendment

protections of freedom of speech, which the Supreme Court has made clear serves

the “major purpose” of protecting “discussion of government affairs.” U.S. Const.

Amends. I, IV. Such individuals enjoy such rights because they are part of “the
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people” under the Constitution and, despite such individuals having a lesser

amount of constitutional rights and protections at times or in certain circumstances,

they nevertheless remain under the Constitution’s purview of protections. See, e.g.,

Hudson v. Palmer, 468 U.S. 517, 526 (1984). Indeed, if undocumented immigrants

were not part of the political community, the very notion of them having

representatives to petition in the first place would be irrelevant.

      Further, undocumented non-citizens are included in the United States

Census, which is quite literally the basis for determining the local political

community, as well as the political districts that represent them. See United States

Census        Bureau,         Frequently        Asked         Questions      (FAQs),

https://www.census.gov/topics/public-sector/congressional-apportionment/about/faqs.

html#:⁓:text=Are%20unauthorized%20immigrants%20included%20in,resident%20p

opulation%20for%20the%20census (all people–citizens and noncitizens alike–”with

a usual residence in the United States are included in the resident population for

the census”); see also Protection for Immigrants, C-Span Created by Cable in 1979,

www.c-span.org/video/?458529-1/protection-immigrants (detailing a Congressional

House Judiciary Committee hearing, in which certain undocumented immigrants

who were brought to the United States as children were able to testify before the

congressional body in support of protections for immigrants). In general, the

Government seeks to interpret “the people” and “political community” to mean the

same thing as “electorate,” but those are entirely different words with different

meanings. Today, there continues to be substantial overlap between the terms, but
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for most of United States history (and especially during the Founding era), the

terms remained distinct. For instance, during the Founding Era, women were not

included as the “electorate”, yet were still considered to have the right to bear arms.

It follows then that the founders understood the Second Amendment to extend

beyond just the electorate. And clearly, any group of individuals important enough

to be included in the Census, and asked to testify before Congress, among other

things, is demonstrative of a “political community” with the importance, rights and

obligations that come with such a community.

       On top of a general understanding that Mr. Carbajal-Flores belongs in a

“political community” that is afforded various rights under the Constitution, the

personal details only add to such a conclusion. Upon Mr. Carbajal-Flores having

been brought to the United States by his mother at the young age of ten (10), Mr.

Carbajal-Flores’ grandfather Alfredo Flores (a United States citizen himself) filed a

immigrant family petition in January of 2001 on behalf of both Mr. Carbajal-Flores

and his mother which was grandfathered under 8 U.S.C. § 1255(i). Essentially

allowing Mr. Carbajal-Flores to adjust his immigration status to legal permanent

resident (green card holder) at a later date without leaving the United States, so

long as certain criteria are met.1 To date, Mr. Carbajal-Flores is working to legalize


1
  8 U.S.C. § 1255(i) is a section of the United States Code that allows for the “[a]djustment in status
of certain aliens physically present in the United States.” 8 U.S.C. § 1255(i). Specifically,

       (i) Adjustment in status of certain aliens physically present in United States
               (1) Notwithstanding the provisions of subsections (a) and (c) of this section,
       an alien physically present in the United States–
                       (A) who–
                               (i) entered the United States without inspection; [ ]
                               (ii) . . . .;
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his status, as is his right pursuant to 8 U.S.C. § 1255(i). He is now married to a

U.S. Citizen, who has filed a petition on his behalf, and he can now utilize the his

grandfather’s grandfathered petition to legalize his status under 8 U.S.C. § 1255(i).

        Further, Mr. Carbajal-Flores is part of a large political group of non-citizen

immigrants that are legally authorized to work in the United States. And, because

Mr. Carbajal-Flores did not have a choice in unlawfully entering the United States

when he was merely ten (10) years old, he is further placed within the bounds of,

and thus would have qualified for the benefits of, a group that has been coined

“DREAMers” under the Development, Relief and Education for Alien Minors

(DREAM) Act.           The ongoing executive and legislative challenges attempting to

codify relief for such individuals makes it clear that its members are a “political

community” in and of itself. See DACA, National Immigration Law Center,

http://www.nilc.org/issues/daca/             (discussing         ongoing       litigation       surrounding


                           (B) who is the beneficiary (including a spouse or child of the principal
        alien, if eligible to receive a visa under section 1153(d) of this title) of–
                                   (i) a petition for classification under section 1154 of this title
        that was filed with the Attorney General on or before April 30, 2001; or
                                   (ii) . . . .; and
                           (C) who, in the case of a beneficiary of a petition for classification, . . .
        , described in subparagraph (B) that was filed after January 14, 998, is physically
        present in the United States on December 21, 2000; may apply to the Attorney
        General for the adjustment of his or her status to that of an alien lawfully admitted
        for permanent residence. The Attorney General may accept such application only if
        the alien remits with such application a sum equaling $1,000 as of the date of receipt
        of the application[.]
                 (2) Upon receipt of such an application and the sum hereby required, the
        Attorney General may adjust the status of the alien to that of an alien lawfully
        admitted for permanent residence if–
                          (A) the alien is eligible to receive an immigrant visa and is admissible
        to the United States for permanent residence; and
                          (B) an immigrant visa is immediately available to the alien at the
        time the application is filed.

8 U.S.C. § 1255(i).
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DREAMers and the constitutionality of President Barack Obama’s executive order

creating the Deferred Action for Childhood Arrivals (DACA) program). Mr.

Carbajal-Flores is clearly part of at least one, if not more, protected “political

communities” for the purpose of Constitutional rights, inclusive of those under the

Second Amendment. Denying such a reality is akin to denying the true

demographic layouts that represent America today.

      Continuing forward with the analysis, and applying the same reasoning as

those courts in Range and Atkinson, such a rightfully-detailed analysis will find

that there does exist certain undocumented immigrants with no suitable past

analogy or twin that exists to justify the stripping away of those individuals’ Second

Amendment rights, if not to be said for all undocumented immigrants. See Prince,

1:22-cr-00240, p. 10 (“Under Bruen, the government has the authority to regulate

presumptively protected conduct under the Second Amendment when it can

demonstrate that the statute is part of this nation’s historical tradition of firearm

regulation.”) (citing Bruen, 142 S. Ct. at 2127). Bruen’s analysis offers two ways of

dealing with the issue of determining comparative historical traditions. In a

“straightforward historical inquiry,” the Government can meet its burden by

identifying a “distinctly similar historical regulation” that addresses a “general

societal problem that has persisted since the 18th century.” Bruen, 142 S. Ct. at

2131; see Prince, 1:22-cr-00240, p. 11 (“This court separately analyzes the burdens of

and justifications for each type of historical regulation to determine whether [the

regulation at issue] imposes a comparable burden on the right of armed self-defense
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and whether that burden is comparably justified.”); see, e.g., United States v.

Johnson, No. 18-CR-00458, 2023 WL 6690388 (N.D. Ill. Oct. 12, 2023); United

States v. Johnson, No. 23-CR-156, 2023 WL 6276562 (N.D. Ill. Sept. 26, 2023);

United States v. Gates, 22-CR-00397-1, 2023 WL 5748362 (N.D. Ill. Sept. 6, 2023).

However, if there are no such past regulations to compare, and the regulation is

considered “distinctly modern,” the Government may offer a historical regulation

that is “relevantly similar.” Id. at 2132. In this case, the Government cannot meet

its burden of showing that this is a “straightforward historical inquiry,” nor can it

show that such a “relevantly similar” historical regulation exists to be compared to

a “distinctly modern” regulation at hand. Here, the Government has attempted to

provide the following comparative historical regulations: (1) laws that denied such a

right to individuals that entered the country unlawfully and did not swear an oath

of allegiance to the United States; and (2) laws denying those deemed outside the

scope of a “political community.” See Government’s Response Brief, pp. 8-24; see also

United States v. Sitladeen, 64 F.4th 978, 985-87 (8th Cir. 2023) (holding that

immigrants who are unlawfully in the United States “are not part of ‘the people’,

however, the Eighth Circuit did not consider subcategories of such entrants that

took no voluntary part in such entry); United States v. Pineda-Guevara, No.

5:23-CR-2-DCB-LGI, 2023 WL 4943609, at *6 (S.D. Miss. Aug. 2, 2023) (denying

rights to those who unlawfully entered, yet no distinction between those who

voluntarily entered versus involuntarily); United States v. Medina-Cantu, No.

22-cr-426, Dkt. 19 at 10 (S.D. Texas Jan. 10, 2023) (same); United States v.
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Escobar-Temal, No. 3:22-CR-00393, 2023 WL 4112762, at **3-6 (M.D. Tenn. June

21, 2023) (requiring an oath of allegiance in order to keep and bear arms, while also

noting that the Constitution “may, in certain circumstances, encompass unlawfully

present aliens”). However, such arguments fail as it applies to the instant case for a

number of reasons.

      Mr. Carbajal-Flores belongs to a particular sub-group of undocumented

immigrants that should not be subject to § 922(g)(5) restrictions. Specifically, and in

addition to the above-noted arguments inferring Mr. Carbajal-Flores’ involvement

in one or more “political communities,” accordingly, there are no such comparable

analogies or twins to § 922(g)(5) that apply to permanently strip undocumented

immigrants of their right to bear arms generally, nor as-applied to certain

sub-groups within such undocumented immigrants. See Prince, 1:22-cr-00240

(finding no “relevantly similar“ historical analogue to the § 922 restrictive statues

that supports permanent prohibition of possessing a firearm by those restricted

under the language and emphasizing the required inquiry under Bruen is, however,

not merely whether a dispossession statute’s burden is “comparably justified,” but

also whether the statute imposes a ‘comparable burden’ on the right itself.” Bruen,

142 S. Ct. at 2133 (emphasis added)). When tasked with such an analysis of history

and tradition, the courts in Range and Atkinson (and subsequently, Prince) decided

that, as it applies to the circumstances before them, a comprehensive review of

history and tradition in the United States concluded that no such analogous

circumstances existed to justify restriction of gun rights when it applied to those
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particular “felons.” See Prince, 1:22-cr-00240, p. 13 (“Importantly, although

Catholics, enslaved people, and Native Americans were prohibited from firearm

possession, individuals within these groups could possess firearms under certain

circumstances”, and further, “state legislatures typically prohibit the sale of

firearms to Native Americans, not possession itself” despite the belief that Native

American tribes were considered hostile foreign nations and, accordingly, not

included in “the people”) (emphasis added) (citing United States v. Jimenez-Shilon,

34 F.4th 1042, 1047 (11th Cir. 2022)); see, e.g., Laws and Ordinances of New

Netherland, 1638-1674, at 18-19 (1868) (1639 New Netherland law); Records of The

Colony of New Plymouth in New England, at 243 (1856) (1675 Plymouth law).

      More specifically, the court in Prince noted the insufficient comparison with

loyalty oath laws that prohibited “untrustworthy” individuals from bearing arms

due to their lack of oath, to the prohibitory regulations under § 922 for permanent

disarmament. See 1:22-cr-00240, p. 17. Specifically, the court noted that such past

individuals were given a way to regain their right to keep and bear arms, thus

making such restrictions of a temporary nature, as opposed to § 922 restrictions

which are otherwise permanent. Id. And as it applies to those immigrants who were

brought here by another unlawfully, unlike those disarmed in the past, such

individuals have no avenue (as of yet) to take such a necessary legal oath, and

therefore gain their right to bear arms. Id. Yet regardless, just like the court in

Prince when deciding § 922(g)(1), this Court should most certainly conclude that §

922(g)(5) similarly “imposes a far greater burden on the right to keep and bear arms
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than the historical categorical exclusions from the people’s Second Amendment.” Id.

To which the Prince court noted, “[t]he government has not demonstrated why the

modern ubiquity of gun violence, and the heightened lethality of today’s firearm

technology compared to the Founding, justify a different result.” Id. And, despite

the devastating effect of our nation’s gun violence problem, such a problem does not

change the fact that the Bruen analysis “rests on the severity of § 922 [ ] rather

than its categorical prohibition.” Id.

      Additionally,   this   Court   must   acknowledge   that,   as   it   applies   to

implementation of § 922(g)(5) to undocumented immigrants, not all immigrants

under this subsection are exactly alike and, therefore, deserve an analysis that

considers just this. Many, like Mr. Carbajal-Flores, did not enter the United States

unlawfully voluntarily. Additionally, Mr. Carbajal-Flores, and many similarly

situated, possess an otherwise clean record and history outside of their

undocumented status, possess authorizations to work and otherwise, and take

substantial steps to legalize their immigration status, despite the Government’s

argument that such individuals are unwilling to adhere to legal conventions or take

an oath of allegiance. Nevertheless, they have pledged their allegiance to the United

States daily and for years right alongside their American-born classmates, and if

given the opportunity, would pledge such legal allegiance as well. See Kanter v.

Barr, 919 F.3d 437, 456-58 (finding that Catholics who were “‘willing to swear

undivided allegiance to the sovereign’ were permitted to keep their arms”); see also

The Laws of Maryland, With The Charter, The Bill of Rights, The Constitution of
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The State, and Its Alterations, The Declaration of Independence And The

Constitution of The United States, And Its Amendments, at 117-18 (1811) (1715 Md.

Law) (allowing enslaved people to possess firearms so long as they had permission

from their master). But see Joyce Lee Malcolm, To Keep and Bear Arms: The Origins

of an Anglo-American Right 45 (1994) (noting the categorical disarming of

nonconformist groups that specifically refused to take an oath of allegiance to the

Church of England, which was under the rule of the King of England); Church of

England,               BBC                 (June               30,              2011),

https://www.bbc.co.uk/religion/religions/christianity/cofe/cofe_1.shtml (same); An Act

for the Better Securing the Government by Disarming Papists and Reputed Papists,

1 W. & M., Sess. 1, ch. 15 (1689) (denying the right to bear arms to Catholics that

categorically refused to take an oath of allegiance to the Protestant government over

their oath to the Pope); see also Kanter v. Barr, 919 F.3d 437, 456-57 (7th Cir. 2019)

(Barrett, J., dissenting) (same). Further, such individuals utilizing and holding legal

work authorizations in the United States additionally cements their ties to the

community and government. Taking these things collectively, such individuals need

to be considered separately from those undocumented immigrants that, for

instance, entered the United States willingly without inspection, remained

undocumented and took no steps to offer any form of allegiance, commitment or

conformity to their community and government, and lived a life of crime and

anarchy. These are separate and distinct sub-categories of undocumented

immigrants, and should be analyzed as such.
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       The Government takes considerable time in its Response Brief to discuss

what it deems analogous historical traditions surrounding the disarming of groups

of people that refused to take oaths of loyalty to the government, equating it to

today’s obligation that undocumented immigrants take an oath and become a

naturalized citizen before being able to bear arms under the Second Amendment.

See Government’s Response to Defendant’s Renewed Second Motion to Dismiss

Indictment, pp. 12-24 (arguing that Mr. Carbajal-Flores is not a member of the

political community nor can he be trusted to adhere to the law solely because of his

undocumented status, and thus poses a danger to society).2 However, no historical

analogies exist that address those individuals that, aside from their undocumented

status alone, are law-abiding, and while they are not rejecting the act of pledging

loyalty to the government, they merely have never had, nor do they now have, the

opportunity to commit to such a pledge.3 See 4 Journals of the Continental

Congress, 1774-1789, at 205 (Worthington Chauncey Ford ed., 1906) (disarming

people who refused to declare an oath of loyalty); Joyce Lee Malcom, To Keep and

2
  Notably, this argument sinks immediately when considering such noncitizens as those with green
card status, all of which are legal permanent residents (yet, not citizens), who possess no right to
vote, yet coincidentally, possess the right to bear arms under the Second Amendment. See 18 U.S.C. §
922(y)(2) (codifying a green-card holders’ and those in the country on a visa the right to purchase and
bear arms).
3
  Having been brought to the United States involuntarily, as a minor, the individual is essentially
stripped of the ability to apply for asylum or citizenship, among other things, as they are under the
control of another individual(s), and therefore do not understand or are given the opportunity for
such obligations during the requisite timeframes to take such oaths. By means of executive orders
and the continuous acts of those in Congress, we continue to attempt to put forth a pathway for
citizenship for these particular individuals as they are only of undocumented status because of the
actions of another person, and aside from that, they are upstanding, law-abiding members of our
country’s fabric. See Second Motion to Dismiss (discussing the Development, Relief and Education for
Alien Minors (DREAM) Act. While our legislature may still be working to play catch-up to the reality
that is America today, it is only a matter of time, and such individuals will soon be granted all the
same rights afforded to other such citizens of the United States that were lucky enough to have been
born here.
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Bear Arms: The Origins of an Anglo-American Right 45 (1994) (disarming

non-Anglican Protestants who refused to participate in the Church of England); 1 W.

& M., Sess. 1, c. 15 (1688) (forbidding ownership of firearms by Catholics who

refused to renounce their faith); Saul Cornell & Nathan DeDino, A Well Regulated

Right: The Early American Origins of Gun Control, 73 Fordham L. Rev. 487, 506

(2004) (disarming individuals during the American Revolution who refused to

“swear an oath of allegiance to the state or the United States); see also Government’s

Response Brief, p. 14 (discussing forbiddance of arming Native American, as well as

Catholics, “unless they swore ‘allegiance to the Hanoverian dynasty and to the

Protestant succession,’ see Robert H. Churchhill, Gun Regulation, the Police Power,

and the Right to Keep Arms in Early America: The Legal Context of the Second

Amendment, 25 L. & Hist. Rev. 139, 157 (2007)”); Churchill, supra at 159 (“[T]he

new state governments . . . framed their police power to disarm around a test of

allegiance” that was offered to current residents); but see 18 U.S.C. § 922(y)(2)

(codifying green-card holders’ and those here on a temporary visa the right to

purchase and bear arms). In other words, there is a significant difference between

someone who refuses to pledge loyalty versus someone who is prevented from

pledging loyalty. As such, many immigrants fall into this later category. Mr.

Carbajal-Flores specifically is more than willing to pledge an oath of allegiance if

given the opportunity, and would even do so under the purview of this Court, in

open court, given the opportunity to do so by the Government.
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       Furthermore, the Government additionally fails to take into consideration

the voluntary action taken by Mr. Carbajal-Flores during his days in grammar

school where he daily pledged his allegiance to this country and its flag–and, while

the Government may very well attempt to discredit such an action, it is

nevertheless, the same pledge of allegiance to this country that ultimately gave

those restricted in the past back their right to bear arms. See Defendant’s Affidavit

Dkt. 71-1; see also supra. Additionally, despite some such actions being initiated

following his arrest in this present case, Mr. Carbajal-Flores has nevertheless taken

a number of steps in an attempt to legalize his status. Specifically, Mr.

Carbajal-Flores currently possesses United States Employment Authorization, and

he has filed an application for cancellation of his removal. Additionally, Mr.

Carbajal-Flores’s wife has filed a petition on his behalf based on his marriage to a

United States citizen, and he is currently attempting to adjust his immigration

status to that of a permanent resident based on the petition in 2001 from his

grandfather.4 All of these actions further suggest Mr. Carbajal-Flores’ loyalty to the

country he has called home the vast majority of his life.

       Accordingly while our legislature continues to attempt to catch up on laws

addressing such individuals, there nevertheless remains hundreds of thousands of

individuals that only know America as their home but, because they were brought

here by another when they were of minor age, they now have no avenue to formally

pledge their allegiance, despite many of them being willing and ready to do so, and


4
  See 8 U.S.C. § 1255(i) (allowing for adjustment of immigration status at a later date, so long as
certain criteria are met).
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having done so in action and orally for years. Witnessed by the evolution of

legislation such as the DREAM Act that has found an audience in Congress, we are

clearly in uncharted territory as there have never been similar circumstances for

individuals in the same position. See id. Offering citizenship to such individuals

(and further the right to bear arms) is in fact more comparatively similar to past

regulations than restrictive laws of such individuals, as the Government attempts

to argue. Such a thought further affirms that these such groups of undocumented

immigrants are in fact a part of the political community that can be trusted to

adhere to laws (despite the one blemish of not having citizenship to no fault of their

own) and deserve the same rights as those with citizenship.

       This Court has already determined Mr. Carbajal-Flores to be part of “the

people” under the Second Amendment, and the Government cannot show specific

analogous historical traditions as it applies to striping away the right to bear arms

from individuals that are otherwise law abiding (and allegiance pledging) residents

of the United States that were merely brought here, by the will of another, at no

fault of their own.5 Further, in an as-applied challenge to § 922(g)(5), Mr.


5
  It is extremely significant to note the Prince court’s emphasis on the fact that the government, in
that case, and just like here, compounds its unmet burden by not offering any form of expert
historian testimony. See Prince, 1:22-cr-00240, p. 21, note 8. Specifically, that court noted:

       The government’s unmet burden is compounded by its decision not to offer any expert
       historian. As another district court stated in United States v. Bullock, No.
       3:18-CR-165-CWR-FKB, 2023 WL 4232309, at *17, 31 (S.D. Miss. June 28, 2023), the
       “historical community’s guidance and expertise” is likely to aid courts in their
       analyses under Bruen, although the holding in Bullock (that § 922(g)(1) was
       unconstitutional as applied to the defendant, who completed his sentence for
       aggravated assault and manslaughter over 15 years prior) is limited to the facts of
       the case. It is not the court’s burden to demonstrate history and tradition in this case
       by appointing its own independent expert, and the Court stated in Bruen that courts
       should “follow the principle of party presentation” and are “entitled to decide a case
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Carbajal-Flores has demonstrated himself to be the type of individual that should

be afforded the same right to bear arms as others. He has a history of consistently

remaining in the same geographical area, where he contributes to his community

through gainful employment and serves as the household of his family. Further, he

did not knowingly, voluntarily or intentionally unlawfully enter the United States,

but rather was involuntarily brought here by an adult when he was only ten (10)

years old–clearly not old enough to understand and navigate the immigration

system to seek asylum or citizenship. And, very importantly, Mr. Carbajal-Flores

has in fact taken the actions to pledge his allegiance to the United States in

numerous ways, beginning while he was in grammar school as he pledged

allegiance to the United States on a daily basis. His actions since then further

demonstrate his desire and willingness to pledge his allegiance to the United

States. To deny Mr. Carbajal-Flores the right to bear arms solely because of

someone else’s actions is unconstitutional both on its face and as an as-applied

challenge. This Court should therefore join Range, Atkinson and, subsequently,

Prince in finding categorical prohibitions under § 922(g) unconstitutional under

Bruen’s instruction, as the Government has failed to “provide evidence of a




       based on the historical record compiled by the parties.” 142 S. Ct. 2111, 2130, n.6
       (2022).

Id. (holding that “[b]ecause this court determines that defendant is a member of “the people''
protected by the Second Amendment, and because neither type of historical regulation
offered by the government satisfies its burden to show a history and tradition of “relevantly
similar” analogues to § 922(g)(1)’s permanent, categorical firearm dispossession of all felons,
the court is forced to grant defendant’s motion to dismiss the indictment against him under
Bruen, regardless of whether he is challenging the statute as applied or on its face”).
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historical analogue that is both comparably justified and comparably burdensome of

the right to keep and bear arms.” Prince, 1:22-cr-00240, p. 22.

      Therefore, for the foregoing reasons, Mr. Carbajal-Flores respectfully

requests that this honorable Court grant his Renewed Second Motion to Dismiss

Indictment Under the Second Amendment of the U.S. Constitution; dismiss the

underlying charge against him for reason of 18 U.S.C. § 922(g)(5)(A) being

unconstitutional as it applies to him; and reinstate Mr. Carbajal-Flores’ Second

Amendment Constitutional right to bear arms. The Government has failed to show

a history or tradition of an absolute ban on individuals based on alienage or

nationality alone and, further, it has failed to prove such a regulation can apply to

Mr. Carbajal-Flores.

      DATED: November 6, 2023

Respectfully Submitted,



/s/ Jacob Briskman

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                  CERTIFICATE OF ELECTRONIC SERVICE

      The undersigned hereby certifies that he is an attorney of record for the

Defendant and registered to file in the ECF system and that on November 6, 2023,

he served an electronic copy of the above and foregoing Motion         by electronic

service (ECF) to the Assistant United States Attorney assigned on this case who is

registered on ECF in this case to receive EService of all documents.



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